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  ADAMS, J.




                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION


  UNITED STATES OF AMERICA,                               )      CASE NO. 1:05CR0537
                                                          )
                   Plaintiff,                             )
                                                          )      JUDGE JOHN R. ADAMS
          v.                                              )
                                                          )      ORDER
  DWAYNE NABORS, et al.,                                  )
                                                          )
                   Defendants.                            )


          This action is before the Court upon the following motion filed in Case No.1:05CR0537

  and the related civil case:

  Defendant                          Motion                                      Civil Case No.

  Albert Lee, Jr.1                   Motion to Vacate Under                      1:07CV3782
                                     28 U.S.C. § 22552

  The Court has reviewed the Government’s Motion for Leave of Court to Dismiss (Doc. 911 in

  Case No. 1:05CR0537), which provides in part that

          the government has concluded that Bray’s illegal conduct was so pervasive and
          his credibility so tainted by his guilty plea, that . . . the above-captioned
          defendant[ ] should be entitled either to a new trial or to withdraw [his] guilty
          plea[ ]. Therefore, the government has no objection to this Honorable Court




          1
            Defendant Albert Lee, Jr. had an appeal pending in the Court of Appeals for the Sixth Circuit
  (Case No. 07-3108). On February 4, 2008, the Sixth Circuit granted the Joint Motion to Dismiss the appeal
  pursuant to Fed. R. App. P. 42.
          2
           Doc. 882 in Case No. 1:05CR0537.
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          granting the motion[ ] previously set forth to the extent that said pleading [has]
          attacked the credibility of Jerrell Bray.

  Id. at 5. The Court agrees. Therefore, the conviction and sentence of defendant Albert Lee, Jr.

  in Case No. 1:05CR0537 is VACATED. Furthermore, the guilty plea of this defendant in Case

  No. 1:05CR0537 is WITHDRAWN.

          Case No. 1:07CV3782 is CLOSED.

          Next, the government states in Doc. 911 that it

          has additionally reviewed the evidence in light of proceeding to trial as to . . . the
          defendant[ ]. In this regard, the government has concluded, as previously noted,
          that Bray, as an essential witness, is not reliable or credible. The government also
          noted in reviewing the evidence that many of the . . . defendants [in Case
          No.1:05CR0537] made voluntary statements to law enforcement admitting their
          roles in the distribution of crack cocaine in the greater Mansfield area. Despite
          these admissions, based on the government’s abiding belief in our system of
          justice and fundamental fairness, Bray’s illegal conduct in the Mansfield
          investigation (violating [people’s] civil rights and committing perjury before this
          Court) is so pervasive that it leaves the government with no alternative other than
          to conclude that these matters must be dismissed.

  Id. at 5-6.

          For good cause shown and in the interest of justice, the government’s Motion for Leave

  of Court to Dismiss (Doc. 911) is GRANTED as to defendant Albert Lee, Jr. All charges

  pending in Case No. 1:05CR0537 against this defendant only are DISMISSED.

          The Clerk of Court shall docket the within Order in Case Nos. 1:05CR0537 and

  1:07CV3782.

          IT IS SO ORDERED.


   February 6, 2008                                /s/ John R. Adams
  Date                                           John R. Adams
                                                 U.S. District Judge


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